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THE WESTERN DISTRICT oF TENNESSEE, WESTERN Divis W; 1
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TIG lNSURANCE COMPANY,

 

Plaintiff,
vs. No. 04-2666~BV
MERRYLAND CHILD CARE AND DEVELOPMENT
CENTER, INC., a/k/a MERRYLAND KINDERGARTEN,

INC., a/k/& MERRYLAND KINDERGARTEN AND
DAY CARE CENTER, INC.; et al.,

Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION TO AMEND SCHEDULING
ORDER AND FOR CONTINUANCE OF TRIAL DATE

 

The Conrt, having considered the Plaintiff’s Motion to Amend
Scheduling Order and for Continuance of Trial Date, and the filings
of the parties relating thereto, is of the opinion that same is
well taken and should be granted.

lT lS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the
discovery deadline in this case is hereby extended to February 28,
2006, the dispositive motion deadline is hereby extended to March

3l, 2006, and the trial of this case is hereby Continned to
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iT is so oRDERED this [L day @f f§[?tg§§ , 2005.

J. ANIEL BREEN `\
UN: ED sTATEs D:sTR:CT JUDGE

 

 

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UNIED TATES DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
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US DISTRICT COURT

